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       Individual appearing without attorney
       Proposed Attorney for: Oceanwide Plaza LLC

                                            UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
    In re:                                                                    CASE NO.: 2:24-bk-11057-DS

                                                                              CHAPTER: 11
    Oceanwide Plaza LLC,
                                                                                   NOTICE OF BAR DATE FOR FILING
                                                                                PROOFS OF CLAIM IN A CHAPTER 11 CASE
                                                                                            [LBR 3003-1]

                                                                                    No hearing: LBR 9013-1(q)
                                                                                   * Hearing information
                                                                               DATE:
                                                                               TIME:
                                                                               COURTROOM:
                                                                               ADDRESS:

                                                                 Debtor(s).

1. Bar Date. The court has set a deadline of (date)    June 26, 2024 , (Bar Date), for creditors in the
   above-referenced case to file proofs of claim against the Debtor’s estate. ON OR BEFORE THE BAR DATE,
   PROOFS OF CLAIM MUST BE FILED WITH THE COURT CLERK AT:

      SEE ATTACHMENT 1 FOR LOCATION AND INSTRUCTIONS FOR FILING A PROOF OF CLAIM

2. Form. You may obtain a Proof of Claim form (Official Form 410) on the Bankruptcy Court’s web site at
   http://www.cacb.uscourts.gov, or visit the Intake area at any division of the Court. Please see Attachment 1 for
   instructions on how to obtain a proof of claim form from Stretto.

3. Exceptions to the Bar Date. Exceptions to the Bar Date include, but are not limited to, the following:

             (a) Executory contracts/unexpired leases. For claims arising from rejection of any executory contract or
                 unexpired lease, the last day to file a Proof of Claim is the later of (a) the Bar Date or (b) 30 days after the
                 date of entry of an order authorizing the rejection of such contract or lease or after any automatic rejection of
                 such contract or lease. See 11 U.S.C. §§ 365(d)(4) and 502(g).
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              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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        (b) Governmental units. For claims of governmental units, the last day to file a Proof of Claim is the later of
             (a) the Bar Date or (b) before 180 days after the date of the Order for Relief in this case (the person signing
            this form has determined that the Order for Relief was entered on (date)         03/11/2024      , and therefore
            calculates that this deadline is (date)     09/07/2024 ). See 11 U.S.C. §§ 101(27) and 502(b)(9).

        (c) Avoidance. For claims arising from the avoidance of a transfer under chapter 5 of the Bankruptcy Code (11
            U.S.C. § 544 and following), the last day to file a Proof of Claim is the later of (a) the Bar Date or (b) 30 days
            after the entry of judgment avoiding the transfer. See 11 U.S.C. § 502(h).

        (d) Agreed claims. If your claim is listed on the Debtor’s official bankruptcy schedules of assets and liabilities
            (Schedules) and it is not listed as disputed, contingent, unliquidated or unknown, then your claim is deemed
            filed in the amount set forth in those Schedules. 11 U.S.C. § 1111(a). But, if your claim is not listed on the
            Schedules, or is listed as disputed, contingent, unliquidated or unknown, or if you disagree with the amount
            or description of your claim (e.g., its description as unsecured or non-priority), then you must timely filed a
            Proof of Claim as set forth in this Notice.

4. 11 U.S.C. § 503(b)(9) Claims. Claims arising from unpaid goods received by the Debtor in the ordinary course of
   business within 20 days prepetition are subject to an administrative expense priority pursuant to 11 U.S.C. §§ 507(a)(2)
   and 503(b)(9). Any creditor who wishes to assert such a claim must file a Proof of Claim by the Bar Date, modified as
   follows: (a) Section 2 of Proof of Claim. Identify: (i) the goods for which the Debtor has not paid; (ii) the method(s) of
   shipment; (iii) the actual date(s) when those goods were received by the Debtor (or state that an estimated date has
   been used); and (iv) the place of delivery – e.g., “computers shipped via U.S. mail, received by the Debtor at the
   Debtor’s warehouse on [insert estimated date]” (use a continuation sheet if necessary); (b) Section 5 of Proof of Claim.
   Check the box for “Other” priority and specify that priority is under 11 U.S.C. §§ 507(a)(2) and 503(b)(9).

5. Interest Holders. If the Debtor or the chapter 11 trustee believes it necessary to set a bar date for interest holders
   (e.g., holders of common or preferred stock), then, before this Notice is served, the chambers of the presiding judge
   in this case must be contacted for further instructions.

    FAILURE OF A CREDITOR TO FILE A PROOF OF CLAIM ON OR BEFORE THE DEADLINE MAY RESULT IN
    DISALLOWANCE OF THE CLAIM OR SUBORDINATION UNDER THE TERMS OF A PLAN OF
    REORGANIZATION WITHOUT FURTHER NOTICE OR HEARING. 11 U.S.C. § 502(b)(9). CREDITORS MAY
    WISH TO CONSULT AN ATTORNEY TO PROTECT THEIR RIGHTS.


Date:    April 18, 2024                                     By: /s/ Sharon Z. Weiss, Proposed Counsel to the Debtor
                                                                Signature of Debtor, chapter 11 trustee, or their attorney


                                                           Name: Sharon Z. Weiss, Proposed Counsel to the Debtor
                                                                 Printed name of Debtor, chapter 11 trustee, or their attorney




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          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                    ATTACHMENT 1 TO NOTICE OF BAR DATE
               FOR FILING PROOFS OF CLAIM IN A CHAPTER 11 CASE
                                 [LBR-3003-1]

        On February 13, 2024 (the “Petition Date”) creditors of Oceanwide Plaza LLC
(“Oceanwide” or the “Debtor”) filed an involuntary petition for relief against the Debtor (the
“Involuntary Petition”) under chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101
et seq. (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Central District
of California (the “Court”). On March 8, 2024, the Debtor answered the Involuntary Petition and
consented to entry of an order for relief. On March 11, 2024 (the “Relief Date”), the Court issued
the Order for Relief (the “Relief Order”).

       To the extent that you have a claim against the Debtor, you must file such claim in
accordance with the procedures set forth in the attached notice against the Debtor. Failure to so
may result in the disallowance of the claim. See below the instructions for filing a proof of claim.

       To file a proof of claim electronically, please visit:

               https://cases.stretto.com/oceanwideplaza/file-a-claim/

then click on the orange “Electronic Claims Filing” button. You can upload all supporting
documentation to the electronically filed claim.

       To file a proof of claim and submit by mail, please visit:

               https://cases.stretto.com/oceanwideplaza/file-a-claim/

then click the “Proof of Claim - Official Form 410” link and download the Proof of Claim Form.
Fill out a physical copy of the proof of claim and upon completion of a proof of claim (together
with any supporting documentation you may have), please remit to the following address:

       Oceanwide Plaza Claims Processing
       c/o Stretto
       410 Exchange, Suite 100
       Irvine, CA 92602

       If you have any questions about the claim submission process, please visit:

               https://cases.stretto.com/oceanwideplaza/contact-us/

        You may also view the docket in the Debtors’ bankruptcy cases free of charge and obtain
other information regarding important dates in the Debtors’ bankruptcy cases by visiting:

               https://cases.stretto.com/oceanwideplaza/
